          Case 4:05-cr-00330-JLH Document 88 Filed 01/15/14 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                             PLAINTIFF

v.                                 NO. 4:05CR00330-01 JLH

BRIAN MONQUEZ MCMILLER                                                            DEFENDANT

                                            ORDER

       The hearing on the government’s Motion to Revoke the Supervised Release of defendant

Brian Monquez McMiller is hereby rescheduled for TUESDAY, JANUARY 28, 2014, at 9:30

A.M., in Courtroom #4-D, Richard Sheppard Arnold United States Courthouse, 500 West Capitol

Avenue, Little Rock, Arkansas, to show cause why the term of supervised release previously imposed

should not be revoked. Document #80.

       IT IS SO ORDERED this 15th day of January, 2014.



                                                    _________________________________
                                                    J. LEON HOLMES
                                                    UNITED STATES DISTRICT JUDGE
